818 F.2d 29Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.DAvid L. MCLAIN, Plaintiff-Appellant,v.Mack WILKENS, Officer;  J.E.  Oosborne, Captain, Defendant-Appellee.
    No. 87-7504.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 27, 1987.Decided April 30, 1987.
    
      Before RUSSELL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      David L. McLain, appellant, pro se.
      Sylvia Hargett Thibaut, Assistant Attorney General of North Carolina, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal from its order refusing relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  McLain v. Wilkens, C/A No. 86-212-R (M.D.N.C., Jan. 7, 1987).
    
    
      2
      AFFIRMED.
    
    